                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION
In the Matter of:                   )
                                    )        Case No. 21-01942-DSC7
DANIEL BENJAMIN SNYDER              )
SSN: XXX-XX-6318,                   )             CHAPTER 7
                                    )
   Debtor.                          )
___________________________________ ) ___________________________________
                                    )
MARINA STEWART-MAGEE,               )
as Administrator and Personal       )
Representative of the ESTATE        )
OF ALBINA AGDASOVNA                 )
SHARIFULLINA, deceased,             )        Case No. _____________
                                    )
    Plaintiff,                      )
                                    )
v.                                  )
                                    )
DANIEL BENJAMIN SNYDER,             )
                                    )
   Defendant.                       )


        COMPLAINT TO DETERMINE NON-DISCHARGEABILITY OF DEBT


       Comes now MARINA STEWART-MAGEE, as Administrator and Personal

Representative of the ESTATE OF ALBINA AGDASOVNA SHARIFULLINA, deceased, a

creditor in the above-styled case, and pursuant to 11 U.S.C.S. § 523(a)(9), files the following

Complaint against the Debtor, Daniel Benjamin Snyder:

                                          PARTIES

       1.     The Creditor, Marina Stewart-Magee, is an individual resident and citizen of

Jefferson County, Alabama.

       2.     Marina Stewart-Magee is the duly appointed Administrator and Personal

Representative of the Estate of Albina Agdasovna Sharifullina, deceased. As such, Ms. Stewart-




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Magee has standing to bring each of the claims set forth in this Complaint.

       3.      The Debtor, Daniel Benjamin Snyder (hereinafter “the Debtor”), is an individual

resident and citizen of Jefferson County, Alabama.

       4.      On August 18, 2021, the Debtor filed a voluntary petition for relief under Chapter

7 of Title 11 of the United States Code (“Bankruptcy Code”) in the United States Bankruptcy

Court for the Northern District of Alabama, Southern Division, Case No. 21-01942-DSC7. (Doc.

1).

                                JURISDICTION AND VENUE

       5.      The Court has jurisdiction over this proceeding pursuant to 28 U.S.C. §§ 157 and

1334(b).

       6.      This is a core proceeding pursuant to 28 U.S.C. § 157.

       7.      Venue is proper in the Southern Division of the United States Bankruptcy Court for

the Northern District of Alabama pursuant to 28 U.S.C. § 1409 because the proceeding arises in

or is related to a case under Title 11 of the Bankruptcy Code which is pending in the same district.

                                  FACTUAL ALLEGATIONS

       8.      The Debtor has been sued as a defendant in a wrongful death civil case styled

Marina Stewart-Magee, as Administrator and Personal Representative of the Estate of Albina

Sharifullina, deceased, v. Daniel B. Snyder, bearing case number 25-CV-2016-900001.

       9.      The wrongful death lawsuit is pending in the Circuit Court of Cullman County,

Alabama and involves a fatal SeaDoo collision which occurred on Sunday, July 6, 2014 at 12:30

a.m. on Smith Lake in Cullman County, Alabama.

       10.     The Creditor’s decedent, Albina Sharifullina, was a passenger on the SeaDoo when

the SeaDoo collided with a dock in the Sulphur Springs Slough of Smith Lake.



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       11.     The Debtor was the driver and owner of the SeaDoo at the time of the collision.

       12.     The collision occurred in the early morning hours of July 6, 2014 at a time when it

was completely dark outside.

       13.     The SeaDoo being driven by the Debtor at the time of the collision was not

equipped with headlights to illuminate its path of travel in the dark.

       14.     The SeaDoo being driven by the Debtor was observed to be traveling at a high rate

of speed by John Barnes, a homeowner across the slough, immediately before the collision

occurred.

       15.     The Creditor’s decedent, Albina Sharifullina, suffered fatal injuries and died at the

scene of the collision.

       16.     The Debtor survived the collision and was airlifted to Huntsville Hospital in

Huntsville, Alabama for treatment.

       17.     According to Dr. David Gray, a plastic surgeon who examined and treated the

Debtor at Huntsville Hospital, the Debtor was “awake and alert” at Huntsville Hospital with

limited cognition “secondary to closed head injury/alcohol intoxication.”

       18.     A blood test analysis performed at Huntsville Hospital revealed that the Debtor had

a blood alcohol concentration (BAC) of 0.152 percent approximately two hours after the collision

occurred.

       19.     The Boating Accident Investigating Report prepared by Trooper John Williams of

the Alabama Law Enforcement Agency listed “alcohol use” on the part of the Debtor as a

contributing factor to the subject collision.

       20.     On January 5, 2016, the Creditor filed a civil lawsuit against the Debtor in the

Circuit Court of Cullman County, Alabama, seeking damages against the Debtor for the wrongful



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death of her daughter, Albina Sharifullina.

       21.     A true and correct copy of the original Complaint and First Amended Complaint

filed by the Creditor against the Debtor is attached to this Complaint as “Exhibit 1.”

       22.     At the time of the collision giving rise to the Creditor’s wrongful death lawsuit, the

Debtor was operating a vessel (SeaDoo) on Smith Lake in Cullman County, Alabama while

illegally intoxicated by alcohol. See Ex. 2, Affidavit of Carissa Brock, RN; Ex. 3, Affidavit of

Trooper John M. Williams.1

       23.     The actions and conduct of the Debtor – i.e., operating a SeaDoo with no headlights

at a high rate of speed in the dark while illegally intoxicated by alcohol – proximately caused the

collision and resulting death of Albina Sharifullina.

                                     COUNT ONE
                            NON-DISCHARGEABILITY OF DEBT
                             PURSUANT TO 11 U.S.C. § 523(a)(9)

       24.     The Creditor adopts and incorporates the allegations in paragraphs one (1) through

twenty-three (23) of this Complaint as if fully set out herein.

       25.     Section 523(a)(9) of the Bankruptcy Code provides that an individual debtor is not

discharged of any debt “for death or personal injury caused by the debtor’s operation of a motor

vehicle, vessel, or aircraft if such operation was unlawful because the debtor was intoxicated from

using alcohol, a drug, or another substance[.]” 11 U.S.C.S. § 523(a)(9).

       26.     The Debtor was operating a vessel (SeaDoo) while illegally intoxicated when the

collision giving rise to the Creditor’s wrongful death lawsuit occurred.




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 Exhibits 1-C and 1-D to the Affidavit of Trooper John M. Williams consist of medical records
from Huntsville Hospital and unclothed photographs of the Debtor. Exhibit 1-E consists of an
autopsy photograph of the Creditor’s decedent, Albina Sharifullina. Due to the sensitive and
confidential nature of Exhibits 1-C, 1-D, and 1-E, the exhibits are not attached to this Complaint.

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       27.     The legal alcohol limit for operating a vessel in the State of Alabama is 0.08

percent. See Ala. Code § 32-5A-191.3(a); Ala. Code § 32-5A-191.

       28.     Approximately two hours after the collision occurred, the Debtor had a blood

alcohol concentration (BAC) of 0.152 percent, almost double the legal limit for operating a vessel

in the State of Alabama.

       29.     The actions and conduct of the Debtor – i.e., operating a SeaDoo with no headlights

at a high rate of speed in the dark while illegally intoxicated by alcohol – proximately caused the

collision and resulting death of Albina Sharifullina.

       30.     On January 5, 2016, the Creditor commenced a civil action against the Debtor in

the Circuit Court of Cullman County, Alabama, seeking a money judgment against the Debtor for

the wrongful death of Albina Sharifullina.

       31.     The judgment sought by the Creditor against the Debtor is non-dischargeable under

Section 523(a)(9) of the Bankruptcy Code because it is a debt for the death of Albina Sharifullina,

the debt was caused by the Debtor’s operation of a vessel, and such operation was unlawful

because the Debtor was intoxicated from using alcohol. See 11 U.S.C.S. § 523(a)(9).

       WHEREFORE, PREMISES CONSIDERED, Plaintiff Marina Stewart-Magee, as

Administrator and Personal Representative of the Estate of Albina Agdasovna Sharifullina,

deceased, respectfully requests this Honorable Court to enter a final judgment in favor of the

Plaintiff and against the Defendant, Daniel Benjamin Snyder, (i) determining that the Defendant’s

debt to Marina Stewart-Magee shall not be discharged pursuant to 11 U.S.C.S. § 523(a)(9); and

(ii) granting such other and further relief as the Court deems just and proper.




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                                     COUNT TWO
                            NON-DISCHARGEABILITY OF DEBT
                             PURSUANT TO 11 U.S.C. § 523(a)(6)

       32.     The Creditor adopts and incorporates the allegations in paragraphs one (1) through

thirty-one (31) of this Complaint as if fully set out herein.

       33.     Section 523(a)(6) of the Bankruptcy Code provides that an individual debtor is not

discharged of any debt “for willful and malicious injury by the debtor to another entity or to the

property of another entity.” 11 U.S.C.S. § 523(a)(6).

       34.     The actions and conduct of the Debtor – i.e., operating a SeaDoo in the dark while

illegally intoxicated by alcohol and accelerating said SeaDoo to a high rate of speed in a slough

full of private docks and piers – was “willful and malicious” within the meaning of 11 U.S.C.S. §

523(a)(6).

       35.     The willful and malicious conduct of the Debtor proximately caused the death of

the Creditor’s decedent, Albina Sharifullina.

       36.     The judgment sought by the Creditor against the Debtor in the wrongful death

lawsuit described herein is non-dischargeable under Section 523(a)(6) of the Bankruptcy Code

because it is a debt for “willful and malicious injury” within the meaning of said section.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff Marina Stewart-Magee, as

Administrator and Personal Representative of the Estate of Albina Agdasovna Sharifullina,

deceased, respectfully requests this Honorable Court to enter a final judgment in favor of the

Plaintiff and against the Defendant, Daniel Benjamin Snyder, (i) determining that the Defendant’s

debt to Marina Stewart-Magee shall not be discharged pursuant to 11 U.S.C.S. § 523(a)(6); and

(ii) granting such other and further relief as the Court deems just and proper.




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